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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
*
v. * CRIMINAL NODC 22 ¢e2>\
*
SAMUEL SWEELEY * (UNDER SEAL)
Defendant *
cuanwus
MOTION TO SEAL

The United States of America, by its attorneys, Erek L. Barron, United States Attorney
for the District of Maryland, and Shabnam Aryana, Assistant United States Attorney, for
said District, moves this Honorable Court for an order sealing the Indictment and Arrest
Warrant in the above-captioned matter for the following reason: fear of flight.

WHEREFORE, the government requests that this Motion, the Order and all other
documents filed in this action be sealed until further order of the Court; and that one (1) copy
of the signed Indictment be provided by the Clerk to the United States Attorney's Office.

Respectfully submitted,

Erek L. Barron
United States Attorney

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Shabnam Aryana
Assistant United States Attorney

ORDERED as prayed, this 26th day of October 2023.

lg Www.

Hon. Timothy J. Sullivan
United States Magistrate Judge

